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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                     Plaintiff,

vs.                                                      Case No. 00-CR-80541
                                                         HON. GEORGE CARAM STEEH

YUK RUNG TSANG,

                Defendant.
_____________________________/

          ORDER DENYING DEFENDANT'S MOTION TO SUPPLEMENT
       THE RECORD WITH POST-VERDICT AFFIDAVITS OF JURORS (#336)

       Defendant Yuk Rung Tsang asks for permission to use mediation, arbitration, or

interrogatories to secure affidavits from one or more of the jurors that convicted him on

March 12, 2002 of conspiracy to distribute more than 100 grams of heroin. On July 5,

2007, this court issued a protective order forbidding Tsang, William Digilio, or any of their

associates, friends, or family members from having any contact with the jurors or their

family members without prior written approval of the court. As explained to Tsang in

previous opinions and orders issued by this court and the Sixth Circuit Court of Appeals,

courts do not inquire into juror's deliberations or the reasons for the verdicts they reach.

See December 25, 2005 Order Denying Motion to Alter or Amend Judgment, and citations

therein. Accordingly,

       Defendant Tsang's motion is hereby DENIED.

       SO ORDERED.

Dated: August 29, 2007

                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE
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                             CERTIFICATE OF SERVICE

              Copies of this Order were served upon attorneys of record on
                  August 29, 2007, by electronic and/or ordinary m ail.

                                 s/Josephine Chaffee
                                     Deputy Clerk




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